         Case 5:20-cv-00043 Document 23 Filed on 05/06/21 in TXSD Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   LAREDO DIVISION

    UNITED STATES OF AMERICA           §
                                       §
                     Plaintiff,        §
                                       §
v.                                     §        CASE NO. 5:20-CV-043
                                       §
0.2273 ACRES OF LAND, MORE OR          §
LESS, SITUATE IN WEBB COUNTY,          §
STATE OF TEXAS; AND ANTONIO            §
RUIZ, ET AL.                           §
                                       §
                   Defendants.         §
_____________________________________________________________________________

        PLAINTIFF’S OPPOSED MOTION FOR A CONTINUANCE OF THE STATUS
                               CONFERENCE



           The United States, through the Assistant United States Attorney, P. Conner Kirtley,

respectfully moves for a sixty (60) day continuance of the status conference scheduled for May

19, 2021.

                                             BACKGROUND

           The United States commenced this case on March 20, 2020, by filing the Declaration of

Taking, which sought to acquire a Right of Entry in property identified as LRT-LRS-1007. 1 On

January 20, 2021, President Joseph R. Biden, Jr. issued the Proclamation on the Termination of

Emergency with Respect to the Southern Border of the United States and Redirection of Funds

Diverted to Border Wall Construction (Proclamation No. 10142, 86 Fed. Reg. 7225 (Jan. 27,

2021)). The Proclamation directed the United States to “pause work on each construction project



1   Dkt. No. 2.


                                                 1
       Case 5:20-cv-00043 Document 23 Filed on 05/06/21 in TXSD Page 2 of 4




on the southern border wall, to the extent permitted by law, as soon as possible but in no case later

than seven days from the date of this proclamation.” Id.

        1. In light of the Proclamation, the United States filed a Motion to Withdraw, requesting

              a status conference after March 22, 2021 2

        2. On February 3, 2021, the Court granted that motion, setting a status conference for

              March 23, 2021. 3

        3. On February 3, 2021 the United States was notified via ECF notification that the Status
                                                             4
              Conference had been set for March 30, 2021.

        4. On February 22, 2021, the Court reset the status conference to April 28, 2021. 5

        5. On March 30, 2021, the Court sua sponte reset the status conference to May 19, 2021,

              in order to “allow the Government additional time to develop it future course of

              action. 6”

                                           REQUEST FOR RELIEF

        The United States requests that the Court continue the status conference as it will not

prejudice any party of this case. Rather, the United States believes the continuance sought herein

will preserve judicial and party resources based on the following reasons:

        1. This is a federal land condemnation action seeking to acquire property in order “to

              conduct surveying, testing, and other investigatory work needed to plan the proposed

              construction of roads, fencing, vehicle barriers, security lighting, cameras, sensors, and




2
  Dkt. 19
3
  Dkt. 20
4
  Dkt. 20-1
5
  Dkt. 21
6
  Dkt. 22


                                                    2
      Case 5:20-cv-00043 Document 23 Filed on 05/06/21 in TXSD Page 3 of 4




             related structures designed to help secure the United States/Mexico border within the

             State of Texas.” 7

        2. On January 20, 2021, President Joseph R. Biden, Jr. issued a Presidential Proclamation,

             terminating the national emergency at the Southern Border Wall and directing “a

             careful review of all resources appropriated or redirected to construct a southern border

             wall” through the development of “a plan for the redirection of funds concerning the

             southern border wall.” 8

        3. The plan for the redirection of funds concerning the southern border wall was expected

             to be developed within 60 days from the date of the proclamation, but as of this date

             no guidance has been forthcoming as to Webb and Zapata counties. 9

        Based on the foregoing, the United States request that the Court grant this motion and enter

an order continuing the filing of status conference for at least 60 days.

                                   CERTIFICATE OF CONFERENCE

        The United States was unable to locate and contact Antonio Ruiz in order to confer

regarding this motion and therefore cannot confirm whether or not Mr. Ruiz is opposed to this

motion, therefore, this motion in being filed opposed.



                                                               Respectfully Submitted,



                                                               JENNIFER B. LOWERY
                                                               Acting United States Attorney
                                                               Southern District of Texas




7
  Dkt. No. 2, Schedule B.
8
  Proclamation No. 10142, 86 Fed. Reg. 7225 (Jan. 27, 2021).
9
  Id.


                                                        3
      Case 5:20-cv-00043 Document 23 Filed on 05/06/21 in TXSD Page 4 of 4




                                                 By: s/P. Conner Kirtley
                                                    P. CONNER KIRTLEY
                                                    Assistant United States Attorney
                                                    Southern District of Texas No. 3563689
                                                    Oklahoma Bar No. 32440
                                                    11204 McPherson Road, Suite 100A
                                                    Laredo, Texas 78045
                                                    Telephone: (956) 723-6523
                                                    E-mail: Philip.Kirtley@usdoj.gov
                                                    Counsel for Defendants




                                      Certificate of Service

       The undersigned counsel hereby certifies that, on the 6th day of May 2021, I mailed a true

and correct copy of the foregoing document via regular mail to all parties remaining in this case.


                                                 By: s/P. Conner Kirtley
                                                    P. CONNER KIRTLEY




                                                4
